 Case 8:19-cv-03100-CEH-CPT Document 8 Filed 12/18/19 Page 1 of 3 PageID 59



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

STRIKE 3 HOLDINGS, LLC,

         Plaintiff,

v.                                                                              Case No: 8:19-cv-3100-T-36CPT

JOHN DOE SUBSCRIBER ASSIGNED IP
ADDRESS 35.138.167.172,

         Defendant.


                                 INTERESTED PERSONS ORDER
                                      FOR CIVIL CASES
         This Court makes an active effort to screen every case in order to identify parties and

interested corporations in which any assigned judge may be a shareholder, as well as for other

matters that might require consideration of recusal.

         It is therefore ORDERED that, within fourteen days from the date of this order (or from

the date of subsequent first appearance 1 in this action), each party, pro se party, governmental

party, intervenor, non-party movant, and Rule 69 garnishee shall file and serve a CERTIFICATE OF

INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT in the following form:




         1
           Every pleading or paper filed constitutes a general appearance of the party unless otherwise specified. Local
Rule 2.03 (a).
Case 8:19-cv-03100-CEH-CPT Document 8 Filed 12/18/19 Page 2 of 3 PageID 60




                                CERTIFICATE OF INTERESTED PERSONS
                               AND CORPORATE DISCLOSURE STATEMENT


         I hereby disclose the following pursuant to this Court’s interested persons order:

1.)     the name of each person, attorney, association of persons, firm, law firm, partnership,
and corporation that has or may have an interest in the outcome of this action — including
subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
own 10% or more of a party’s stock, and all other identifiable legal entities related to any party
in the case:

         [insert list]

2.)    the name of every other entity whose publicly-traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings:


         [insert list]

3.)    the name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or twenty largest
unsecured creditors) in bankruptcy cases:

         [insert list]

4.)    the name of each victim (individual or corporate) of civil and criminal conduct alleged
to be wrongful, including every person who may be entitled to restitution:


         [insert list]

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and
will immediately notify the Court in writing on learning of any such conflict.


[Date]                                                _____________________________
                                                      [Counsel of Record or Pro Se Party]
                                                           [Address and Telephone]
[Certificate of Service]




                                               -2-
 Case 8:19-cv-03100-CEH-CPT Document 8 Filed 12/18/19 Page 3 of 3 PageID 61



        It is FURTHER ORDERED that no party may seek discovery from any source before

filing and serving a Certificate of Interested Persons and Corporate Disclosure Statement. A

motion, memorandum, response, or other paper — including emergency motion — may be

denied or stricken unless the filing party has previously filed and served its Certificate of Interested

Persons and Corporate Disclosure Statement.

        FURTHER ORDERED that each party has a continuing obligation to file and serve an

amended Certificate of Interested Persons and Corporate Disclosure Statement within fourteen

days of 1) discovering any ground for amendment, including notice of case reassignment to a

different judicial officer; or 2) discovering any ground for recusal or disqualification of a judicial

officer. A party should not routinely list an assigned district judge or magistrate judge as an

“interested person” absent some non-judicial interest.

        FURTHER ORDERED that, in order to assist the Court in determining when a conflict

of interest may exist, particularly when ruling on matters formally assigned to another judge, each

party shall use the full caption of the case — including the names of all parties and intervenors —

on all motions, memoranda, papers, and proposed orders submitted to the Clerk. See Fed.R.Civ.P.

10(a); Local Rule 1.05(b) (“et al.” discouraged).

December 18, 2019




Copies to:      All Counsel of Record
                All Pro Se Parties




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